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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  SANDRA CARDONA,
                                                                Case No.: 0:24-cv-61337-AHS
                Plaintiff,

  v.

  NUTRITION FORMULATORS, INC., and
  EMPLOYMENT SOLUTIONS OF NEW
  YORK, INC.,

              Defendants.
  ____________________________________/

                             JOINT DISCOVERY STATUS REPORT

         Plaintiff, SANDRA CARDONA             (“Plaintiff”),     and   Defendant,   NUTRITION

  FORMULATORS, INC. (“NFI” or “Defendant”) (collectively the “Parties”), pursuant to this

  Court’s Orders at D.E. 14 and D.E. 34, hereby file this Joint Discovery Status Report regarding

  compliance with the Court’s Discovery Procedures Order, and state as follows:



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   Request No. 1: Plaintiff requests this Court compel defendant NFI to produce plaintiff’s entire
   personnel file.

   Response: NFI produced Plaintiff’s entire personnel file on December 16, 2024. (NFI 00015- 000021).
   Movant’s Position:                  Opponent’s Position:

   Plaintiff maintains that NFI has       NFI submitted its responses to
   failed to produce Plaintiff’s entire   discovery on December 16, 2024. On
   personnel file throughout the          January 9, 2025, Plaintiff’s counsel
   course of discovery, despite           initiated a discovery conferral,
   plaintiff’s discovery requests and     identifying, not explaining why
   conferral attempts. On 1/1/24,         specific responses were deemed
   Plaintiff propounded her Requests      deficient.
   for Production, including a request
   seeking the contents of Plaintiff’s    During a telephone conferral on
   personnel file. On 12/16/24, NFI       January 17, 2025, Plaintiff's counsel
   responded to this request that         indicated that they no longer had
   “Plaintiff was not an NFI              issues with NFI’s Response to RFP
   employee and, therefore, did not       No. 26.
   have an employment personnel
   file.” Counsel for the parties         Plaintiff’s current objections to NFI’s
   conferred and there was no             Response to RFP No. 26 are grossly
   indication that NFI’s position         untimely. More than 3 ½ months have
   changed as to the personnel file.      passed since Plaintiff provide the
   On 3/18/25, Plaintiff’s counsel        relevant response. See S.D. Fla. L.R.
   deposed        NFI’s      corporate    26.1
   representative, Fabiana Santaella.
   At deposition, Fabiana was asked,      Furthermore, there is no foundation
   “Fabiana, do you still have access     for the alleged issue Plaintiff now
   to Sandra Cardona’s personnel file     wants the Court to address after the
   sitting here today?” to which she      discovery deadline has expired.
   responded, “Yes.” Santaella TR
   36:3-4. Fabiana confirmed the          Plaintiff was given an assignment to
   existence of a personnel file for      work at NFI by Defendant
   Plaintiff and explained that there     Employment        Solutions.     It is
   were many relevant documents in        undisputed      that    Plaintiff—who
   the folder, which NFI has refused      rendered assignee services for less
   to produce, including documents        than 3 months—was never registered
   related to her employment and          as an NFI employee. NFI did not
   termination. Plaintiff ordered the     maintain an employment-based
   transcript and received it on          personnel file for Plaintiff. Instead,
   3/28/25 to confirm the testimony.      NFI maintained a contractor/assignee
                                          personnel file.


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                               NFI’s Corporate Representative
                               testified about the differences
                               between what is ordinarily kept in an
                               employee personnel file and what is
                               ordinarily kept in the more limited
                               contractor/assignee personnel file.

                               Nevertheless, NFI has fully produced
                               the only personnel file ever kept for
                               Plaintiff. Nothing was withheld from
                               the personnel file and there is nothing
                               left to be produced from the personnel
                               file.

                               Nothing        in  NFI      corporate
                               representative’s deposition transcript
                               supporting Plaintiff’s position that
                               NFI has withheld any documents in
                               Plaintiff’s file.




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   Request No. 2: Plaintiff requests this Court compel defendant to produce responsive documentation
   absent a confidentiality agreement.
   Response: NFI produced all responsive documentation to Plaintiff. NFI voluntarily produced relevant
   confidential documents not properly captured by Plaintiff’s discovery requests without Plaintiff
   agreeing to a standard Confidentiality Agreement.
   Movant’s Position:                   Opponent’s Position:

   On 11/1/24, Plaintiff propounded Plaintiff’s discovery requests reveal a
   discovery on NFI. On 12/16/24, pattern            of   inartful    discovery
   NFI provided its responses. On drafting. One of the primary issues is
   3/19/25, Defendant’s counsel that the requests are repeatedly tied to
   stated that “we will consider “employment” documents.
   voluntarily producing extra docu-
   ments.” On 3/28/25, the final day The issues with Plaintiff’s discovery
   of discovery, NFI’s counsel requests and NFI’s corresponding
   explained there were more objections did not entitle Plaintiff to
   responsive documents that were to the documents it now claims—for the
   be produced, but Plaintiff must very first time—are at issue (the
   first enter into a confidentiality “Documents”). Plaintiff never raised
   agreement. This was the first and an issue about the Documents.
   only time any objections were Plaintiff is attempting to inject a non-
   made to Plaintiff’s discovery existent issue long after the deadline
   requests on the basis of set forth in S.D. Fla. L.R. 26.1 and
   confidentiality, or that NFI was after the discovery deadline.
   withholding documents on the ba-
   sis of confidentiality. On 3/28/25, Nevertheless, NFI produced many
   at 5:50 P.M., NFI produced some documents it was not required to
   of the documentation that pertains produce.
   to Plaintiff’s employment and
   termination. These documents NFI manufactures/encapsulates pills
   have been largely redacted, and and other products. It is in a highly
   NFI has not stated whether they are regulated industry. NFI has drafted
   withholding any further documen- detailed, confidential documents to
   tation on the basis of this objection. comply with its legal obligations and
   NFI has further failed to classify ensure high quality production.
   any of the claimed confidential
   documents. Again, these docu- Without waiving any objections, NFI
   ments presumably relate to Plain- advised Plaintiff that it would be
   tiff’s employment and termination willing to voluntarily produce certain
   and are responsive to some of the sensitive documents to help Plaintiff
   Plaintiff’s document requests but understand the deficient nature of her
   were not provided during dis- substantive allegations.            NFI sent
   covery.                                Plaintiff a standard confidentiality


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                               agreement to help facilitate the
                               production.      Plaintiff refused to
                               provide any proposed revisions to the
                               confidentiality agreement.

                               Sensing that Plaintiff may be
                               attempting to delay the proceedings,
                               NFI nonetheless still produced the
                               documents in good faith, marked them
                               as confidential, and redacted the
                               portions that do not relate to Plaintiff.

                               In exchange, NFI is only asking that
                               Plaintiff not distribute the sensitive
                               material to third parties, use the
                               material for any reason other than as
                               part of this action, or file the material
                               in the public record.




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   Request No. 3: Plaintiff requests this Court allow plaintiff to continue the deposition of defendant
   NFI’s corporate representative, Fabiana Santaella (“Fabiana”).

   Response: Plaintiff improperly and prematurely terminated the deposition of NFI’s corporate
   representative despite not having a basis to do so, failing to complete the examination on all
   topics Plaintiff claimed there was no discovery dispute over, and now seeking to continue the
   deposition after the discovery deadline.
   Movant’s Position:                   Opponent’s Position:

   On March 18, 2025, Plaintiff’s         Plaintiff improperly and
   counsel deposed Fabiana, whose        prematurely terminated the
   testimony contradicted some of        deposition      of      NFI’s
   NFI’s discovery responses. Per        corporate representative. If
   Fabiana’s testimony, Defendant        the Plaintiff believed there
   had a personnel file for Plaintiff    was a legitimate discovery
   that stored crucial, relevant, and
                                         issue (although there is
   responsive documentation that
                                         none), Plaintiff should have
   should have been produced by the
   date of the corporate represen-       completed all portions of the
   tative’s     deposition.      Once    deposition that could have
   Plaintiff’s counsel recognized the    been      completed       and
   disparity between        Fabiana’s    reserved the right to depose
   testimony and the discovery           the witness as to any alleged
   responses, which Fabiana assisted     missing discovery. This is
   in answering, Plaintiff’s counsel     precisely what NFI did
   requested those records be            during             Plaintiff’s
   produced so the deponent may be       deposition. For example,
   asked about them. To be clear,        NFI has yet to receive
   Plaintiff was terminated for          Plaintiff’s relevant medical
   allegedly violating Standard
                                         records.
   Operating Procedures (“SOPs”),
   but Defendant has not produced
   the SOPs Plaintiff allegedly          NFI’s               corporate
   signed, a report of Plaintiff’s       representative was prepared
   violation of the SOPs, and other      and able to continue the
   documents         that     Fabiana    testimony. The Federal
   confirmed are typically signed by     Rules of Civil Procedure
   assignees, including procedures       clearly state that objections
   manuals,             good-practices   to evidence or conduct
   documents, and training forms. As     during a deposition must be
   such,       Plaintiff’s    counsel    entered on the record;
   adjourned the deposition to obtain    however, the examination
   these crucial documents before
                                         must       continue,      and
   continuing any questioning. NFI
                                         testimony      should      be
   has objected to the continuation of
   the deposition.


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                                        recorded subject to those
                                        objections.

                                        As noted above, NFI
                                        vehemently denies any
                                        alleged              discovery
                                        deficiencies.     NFI      has
                                        produced Plaintiff’s full
                                        personnel      file.     Other
                                        documents referenced by
                                        Plaintiff were not due to be
                                        produced        based       on
                                        Plaintiff’s inartful requests
                                        and NFI’s objections. Any
                                        issue with the discovery
                                        responses       or       NFI’s
                                        objections to same have
                                        long been waived. Despite
                                        this, NFI has produced
                                        documents as indicated
                                        above.


  Result of the Parties’ Meet and Confer
  As a result of the parties’ telephonic meet and confer, the parties were unable to reach a resolution
  following their detailed discussions.

  Respectfully submitted,

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                                                       Formulators, Inc.

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document is being

  served on this 3rd day of April, 2025, on all counsel of record on the service list below via

  transmission of Notices of Electronic Filing generated by CM/ECF.


                                                           /s/ Daniel J. Barroukh
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